                         UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF PENNSYLVANIA
                                 Philadelphia Division


   David Frederick Ralls,                               Chapter 13
                                                        Case No. 24-12228-AMC
                                             Debtor.


                                       Certificate of Service

       I certify that on this date I served a true and correct copy of the Debtor’s Second
Amended Chapter 13 Plan on the following parties by first class mail or through the CM/ECF
system:
U.S. Trustee (CM/ECF)

Scott F. Waterman (CM/ECF)

Ardent Federal Credit Union (CM/ECF)

Lima One Capital, LLC (CM/ECF)

Internal Revenue Service
Centralized Insolvency Operation
PO Box 7346
Philadelphia, PA 19101-7346




Date: February 4, 2025
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